In re:

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” in the Gulf of Mexico, on
April 20, 2010
SECTION: J
JUDGE BARBIER
MAGISTRATE JUDGE SHUSHAN

SUPPLEMENTAL DECLARATION OF JOHN E. TOMLINSON

. My name is John E. Tomlinson and I was an attorney participant on behalf of the

PSC/Class Counsel in negotiations with BP representatives to construct the Economic
Damage portion of the Class Settlement Agreement, specifically including the Business
Economic Loss Frameworks.

I previously submitted to this Court a declaration on February 18, 2013. See attached
Declaration of John E. Tomlinson. All of the statements in my original Declaration are
still true and accurate.

I have reviewed the Declaration of Andrew T. Karron in Response to the Declaration of
John E. Tomlinson (Exhibit 32 to BP’s Motion for Injunction). Although Mr. Karron’s
Declaration contains some accurate statements, it also promulgates half-truths regarding
certain focus or discussion points in negotiations at that time, which are completely
relevant to the issue at hand.

Noticeably absent from Mr. Karron’s Declaration is the fact that, during the period of
time in question, the parties performed Step-1 Business Economic Loss calculations
(using both EBITDA and Variable Profit) on the previously referenced test case profit
and loss statements. These profit and loss statements contained all revenues and expenses
for the proposed testing periods. In order to perform a Step-1 BEL calculation, monthly
revenues and variable expenses have to be compared over periods of time to arrive at a
Step-1 result. These Step-1 calculation results were compared and discussed by the
parties. At that time and prior to Settlement, any monthly revenue spikes, negative
variable profits, and/or wide variations in monthly variable profit, which BP now claims
would necessitate matching/smoothing, would have been readily apparent to BP
representatives from the Step-1 calculation results using these test profit and loss
statements.

Again, despite having access to these test case profit and loss statements, BP
representatives, including Mr. Karron, did not raise the topics of proposed
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triggers/thresholds and/or the matching/smoothing of revenues and expenses in any of the
negotiation sessions I participated in. In addition, there were certainly no tests nor
formulas presented by BP, at that time, for addressing these topics.

I declare under penalty of perjury that the foregoing is a true and correct statement.

John E. Tomlinson -Attorney

Dated: April 1, 2013
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Inre: Oil Spill by the Oil Rig “Deepwater MDL No. 2179
Horizon” in the Gulf of Mexico, on
April 20, 2010
SECTION: J
JUDGE BARBIER
MAGISTRATE JUDGE SHUSHAN

DECLARATION OF JOHN E. TOMLINSON

1. My name is John E. Tomlinson and I was an attorney participant on behalf of the
PSC/Class Counsel in negotiations with BP representatives to construct the Economic
Damage portion of the Class Settlement Agreement, specifically including the Business
Economic Loss Frameworks.

2. Based on my review of BP’s recent post-settlement proposal of matching revenues and
expenses, BP has suggested various triggers or thresholds that, in its view, would identify
claimants whose revenues and/or expenses would require smoothing/matching. These
proposed triggers would include, but are not limited to, monthly revenue spikes, negative
variable profits, and/or wide variations in monthly variable profit.

3. As part of settlement negotiations in late 2011, I provided BP representatives several
profit and loss statements from actual businesses as test cases to apply the negotiated
business economic loss framework. The test cases were numbered, most identified by
industry, and the parties were allowed the opportunity to review and compare results of
their Step 1 compensation calculations. Test Case #s 13, 20, 71 and 72, consisting of a
brick paving company, plumbing company, and two construction related companies,
were among those I sent to and were received by BP representatives.

4. Itis clear from analyzing the actual profit and loss statements of these and other test cases
that the above-referenced triggers or thresholds (that BP now asserts necessitates the
matching of revenues and expenses) were easily identifiable in these test case profit and
loss statements prior to settlement. (See attached summaries of test case data (prepared
for this declaration) highlighting revenue and variable profit triggers) |

5. Despite having access to these test case profit and loss statements, BP representatives did
not raise the topics of proposed triggers/thresholds and/or the matching/smoothing of
revenues and expenses in any of the negotiation sessions I participated in. In addition,

' For the purposes of these summaries, only 2009-2010 information was compared and cost of goods sold totals
were used for variable expenses,
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there were certainly no tests or formulas presented by BP, at that time or at any time
before the Settlement Agreement was finalized and approved by the Court, for addressing
these topics.

I declare under penalty of perjury that the foregoing is a true and correct statement.

ee -
John E. Tomlinson - Attorney

Dated: February 18, 2013
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Case 2

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Case 2

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Case 2

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